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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF
                            ALABAMA SOUTHERN DIVISION

 ANDREA L TALBOTT,

       PLAINTIFF,
                                                       Case No.: 1:17-cv-00348-C
 VS.

 NAVIENT SOLUTIONS, LLC,
 EXPERIAN INFORMATION                                  JURY TRIAL REQUESTED
 SOLUTIONS, INC., and EQUIFAX
 INFORMATION SERVICES, LLC,

       DEFENDANTS.
                                   AMENDED COMPLAINT


       COMES NOW the Plaintiff, Andrea L Talbott (hereafter the “Plaintiff”), by counsel, and

as her Complaint against the above-named Defendants, and avers as follows:

                                PRELIMINARY STATEMENT

       This action arises from the mismanagement and wrongful actions taken in connection with

Plaintiff’s credit reports. Defendant, Navient Solutions, LLC (“Navient”), has engaged in an

aggressive collections campaign against Plaintiff which includes harassing phone calls, numerous

demands for sums not owed, repeated written express threats, false credit reporting, all in an

attempt to coerce Plaintiff to pay sums she does not owe. Defendant Navient has conducted this

campaign even though its own records repeatedly supplied by Plaintiff (at their request)

conclusively demonstrate that the accounts owed have been paid. Navient failed to conduct any

such investigation, failed to properly respond to the credit disputes made by the Plaintiff and failed

to take required corrective action. Navient also failed to conduct proper investigation and make

corrections to its credit reporting in response to Plaintiff’s credit reporting dispute as required by

the”), 15 U.S.C. 1681.     Defendants, Experian and Equifax, also failed to conduct any proper


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investigation of Plaintiff’s credit reporting dispute as required under the FCRA. Plaintiff seeks

actual and statutory damages, plus attorney’s fees and costs, for multiple violations of the Fair

Credit Reporting Act (“FCRA”), 15 U.S.C. 1681. Plaintiff also seeks compensatory and punitive

under Alabama law.

                                 JURISDICTION AND VENUE

        1.      This Court has subject matter jurisdiction under 1681p, 12 U.S.C. § 2617 and 28

U.S.C. 1367. 28 U.S.C. 1367. 28 U.S.C. 1367. 28 U.S.C. 1367.

        2.      Venue is proper here because the events giving rise to Plaintiff’s cause of action

occurred in this district.

                                             PARTIES

        3.      The Plaintiff is a natural person and adult resident of Mobile County, Alabama.

Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        4.      Defendant, Navient Solutions, LLC (“Navient”), is a Virginia corporation doing

business in the State of Alabama.

        5.      Defendant, Equifax Information Services, LLC, (“Equifax”), is a corporation

formed und the laws of the State of Georgia and has its principal place of business in the State of

Georgia. Equifax is a consumer reporting agency as defined in § 1681 of the FCRA, regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA,

to third parties. is a consumer reporting agency as defined in § 1681 of the FCRA, regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA,

to third parties. is a consumer reporting agency as defined in § 1681 of the FCRA, regularly

engaged in the business of assembling, evaluating, and dispersing information concerning

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consumers for the purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to

third parties. is a consumer reporting agency as defined in § 1681 of the FCRA, regularly engaged in the

business of assembling, evaluating, and dispersing information concerning consumers for the purpose of

furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to third parties.

        6.      Experian Information Solutions, Inc. (“Experian”), is a corporation formed under

the laws of the State of Ohio and has its principal place of business in the State of Ohio. Experian

is a consumer reporting agency as defined in § 1681 of the FCRA, regularly engaged in the

business of assembling, evaluating, and dispersing information concerning consumers for the

purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to third parties.

Experian is a consumer reporting agency as defined in § 1681 of the FCRA, regularly engaged in

the business of assembling, evaluating, and dispersing information concerning consumers for the

purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to third parties.

Experian is a consumer reporting agency as defined in § 1681 of the FCRA, regularly engaged in

the business of assembling, evaluating, and dispersing information concerning consumers for the

purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to third parties.

Experian is a consumer reporting agency as defined in § 1681 of the FCRA, regularly engaged in

the business of assembling, evaluating, and dispersing information concerning consumers for the

purpose of furnishing consumer reports, as defined in § 1681a(d) of the FCRA, to third parties.

        7.      Defendants, Equifax and Experian, are sometimes referred to herein collectively as

"CRA Defendants."

                                    FACTUAL ALLEGATIONS

        8.      Sometime in 2016, the Plaintiff received a collection letter in the mail from Navient

(formerly Sallie Mae) regarding past due student loans. The statement attested that she owed over




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$6,000.00 for three (3) separate student loans that were taken out in 2003.

       9.      On or about January 6, 2016, years after the Plaintiff had filed for and received her

discharge in a Chapter 13 bankruptcy, her attorney sent a letter to Navient stating the loans were

taken out on behalf of Plaintiff’s parents as Plaintiff was not eligible for student loans based on

her age. The letter also informed Navient the student loans were paid in full through her parents

Chapter 13 bankruptcy which was discharged in 2014. The amount paid was $10,619.91.

       10.     In March 2016, Plaintiff’s mother requested a loan payoff inquiry and a proof of

claim form from her bankruptcy attorney. The purpose of these documents was to inform Navient

once again that the alleged amount owed was already satisfied.

       11.     Between April 2016 to July 2016, Plaintiff continued to receive statements and

collection notices in the mail from Navient stating she owed the student loan debt. Upon receipt

of said notices, she would immediately contact Navient and dispute the debt.

       12.     In June 2016, Plaintiff contacted Trans Union and Equifax to dispute the accounts

as they were reporting on her credit report as past due and an amount owed.

       13.     Later that month, the Plaintiff received her investigation results from Trans Union

which showed all three (3) of the Navient accounts. The accounts reported paid through Chapter

13 bankruptcy and closed on April 30, 2016. This appeared to be the appropriate reporting of the

account and the Plaintiff was satisfied with this investigation result. However, she failed to receive

any correspondence from Equifax in response to her inquiry.

       14.     In August 2016, Plaintiff visited the Regions Bank branch located at Cottage Hill

Road, the original lender of the student loans, and spoke with Jamie Towler, a representative at

the location. The Plaintiff spoke with the agent about the situation with Navient and Towler

assured the Plaintiff that he would review the matter and attempt to resolve the issue promptly.

       15.     Despite Plaintiff’s constant denial that she owed the debt, the Plaintiff continued to

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receive debt collection and notices in the mail from Navient stating that the debt was owed and

further action would be taken should the Plaintiff fail to resolve the outstanding balance.

       16.     After receiving letters on a consistent basis, the Plaintiff informed Navient that a

Regions Bank agent was looking into the situation. Navient agents claimed they had received no

contact from any Regions representatives. Plaintiff visited the Regions branch soon after, and Mr.

Towler informed her that he had indeed maded several contacts with Navient regarding her matter.

       17.     In September 2016, Plaintiff went by the Regions Bank branch on Hillcrest Road

and spoke with an agent named Kayla Dunaway. This agent immediately called Navient.

Dunaway asked for a fax number or email address so she could receive documents that were faxed

to Navient earlier in the year. Navient informed the agent they could not receive email but gave

her a fax number and informed her it would take 2 – 3 business days to receive a fax. Plaintiff

waited and returned to Regions with her mother a few days later so that Dunaway could contact

Navient to verify they received the fax. Dunaway immediately took Plaintiff and her mom into a

private conference room and contacted Navient by phone. The agent of Navient stated the loans

were “repurchased”. During the call, the Plaintiff’s mother asked how something could be

repurchased if it’s been paid off, but received no response to her inquiry. The agent of Regions

Bank immediately advised Plaintiff that there was nothing further Regions could do at that time

based on the statements made by Navient’s agents.

       18.     On or about September 17, 2016, in another attempt to have the accounts updated

on her credit reports, Plaintiff submitted written disputes regarding the student loan accounts

reported by Navient. The disputes were mailed to and received by each of the CRA Defendants.

In her dispute letter, Plaintiff explained that the Navient accounts were inaccurate as the loans were

paid in full through her parents Chapter 13. The dispute included a copy of her driver license, the

proof of claim and a letter from her bankruptcy attorney that she had previously sent to Navient.

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           19.   Plaintiff's September letter constituted a consumer dispute and triggered the

requirements set out in 15 U.S.C. § 1681i and 1681s-2(b).

           20.   Written responses were provided by the CRA’s which demonstrated that no

corrective action was taken and these Defendants continued to false report the loan in arrears.

Experian responded to her dispute by falsely stating that Plaintiff did not provide sufficient

identifying information to enable it to conduct an investigation. Experian, along with Equifax,

wrongfully failed to conduct any proper investigation and continued to falsely report the loan in

arrears.

           21.   Plaintiff’s credit reporting dispute was forwarded to Navient by some or all of the

CRA Defendants. That dispute, together with the information in its own file and the bank

information already provided by Plaintiff, provided ample evidence demonstrating that its credit

reporting was false. It nevertheless verified the veracity of the reporting to the CRA Defendants,

knowing that this would result in continued false information reported on Plaintiff's credit file

which would cause her financial harm. Moreover, Navient continued furnishing the false and

derogatory information to credit bureaus, including the CRA Defendants with the knowledge that

such information was false or, at a minimum, could not be verified through any reliable account

records.

           22.   The information provided by Plaintiff to the CRA Defendants conclusively

demonstrate that the information reported by Navient is false and unreliable, and that any reliance

on Navient’s verification is unreasonable. Navient did not provide the CRA Defendants with any

information or documents refuting the evidence provided by Plaintiff and its response to the CRA

Defendants was limited to an unsubstantiated bare statement that the information reported was

correct.

      23.        The CRA Defendants failed to perform any reasonable independent investigation
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of Plaintiff’s dispute and the information provided in support of that dispute. CRA Defendants' decision to

rely on bare and unsubstantiated statement by Navient, in the face of the information provided by Plaintiff,

was unreasonable and constitutes a failure to perform the duties required under the FCRA. CRA

Defendants continued reporting the false and derogatory information to the credit bureaus, with the

knowledge that such information was false or, at a minimum, had not been verified through any reliable

account records.

         24.       Plaintiff has continued to receive debt collector notices from Navient and other

 entities associated with and directed by Navient to collect the alleged debt.

         25.       Plaintiff has suffered damages proximately resulting from the failure by Navient

 and the CRA Defendants to properly investigate her dispute and cease the false reporting relating

 to the loans. This damage includes damage to her credit and reputation, credit denials, loss of

 credit opportunities and mental anguish.

                                      COUNT I
                   (INVASION OF PRIVACY AND WANTON COLLECTIONS)

         26.       Plaintiff realleges and incorporates all of the preceding paragraphs as if fully set

 out herein.

         27.       Alabama law imposes upon any creditor and any collector the duty not to take

 actions to collect a debt which exceed the bounds of reasonableness and/or which wrongfully

 intrude upon the privacy of the debtor.

         28.       The actions taken by the CRA Defendants in falsely holding Plaintiff in default,

 threatening imminent collection activity, subjecting Plaintiff to repeated and harassing collection

 calls about its false claims that she owed the debt constitute a wrongful invasion of Plaintiff’s

 privacy and exceeded the bounds of reasonableness. Those acts also constitute the wanton

 collection of alleged debt conducted with a wanton or reckless regard for the Plaintiff’s welfare.



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        WHEREFORE, Plaintiff requests that this Court enter a judgment against CRA

Defendants for invasion of privacy and/or wanton collections and award her compensatory

damages, including damages for mental anguish and emotional distress; and punitive damages,

plus interest and costs. Plaintiff further requests such other relief as the Court deems just and

proper, the premises considered.

                                   COUNT II
                  (FCRA VIOLATIONS BY EXPERIAN AND EQUIFAX)

        29.    Plaintiff realleges and incorporates all of the preceding paragraphs as if fully set

out herein.

        30.    This count states claims for negligent and willful violations of the Fair Credit

Reporting Act (“FCRA”) against CRA Defendants pursuant to 15 U.S.C. § § 1681o and 1681n.

        31.    CRA Defendants are “consumer reporting agencies” as that term is defined in

FCRA.

        32.    The CRA Defendants have reported false and derogatory credit information on

Plaintiff’s credit report relating to the above-described account. This information was reported to

third parties, including Plaintiff’s potential lenders and others who may be in a position of

evaluating Plaintiff’s creditworthiness, credit standing, credit capacity, character and general

reputation. This false and derogatory information was, at all relevant times, reported by the CRA’s

to said third parties by a “consumer report” as that term is defined in the FCRA.

        33.    Plaintiff submitted a written consumer dispute to each of the CRA Defendants,

explaining that the information being reported on her credit file relating to the loans were false and

Plaintiff provided documentation supporting her dispute and conclusively demonstrating that the

information reported by Navient was false and unreliable. Based on the information provided in

Plaintiff’s dispute, any reasonable and independent investigation should have resulted in the

removal or the derogatory information.
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       34.      The CRA Defendants failed in its duty to reasonably investigate Plaintiff’s disputes

and has merely parroted the false information supplied by Navient, without performing any

meaningful or reasonable independent investigation. As a result, the false and derogatory

information was repeatedly verified and has remained on Plaintiff’s credit file. The CRA

Defendants also failed to properly respond to the Plaintiff’s dispute as required under the FCRA.

       35.      CRA Defendants each failed to comply with the requirements of the FCRA in one

or more of the following ways:

             a. By willfully and/or negligently failing, in the preparation of the consumer reports

                concerning Plaintiff, to follow reasonable procedures to assure maximum possible

                accuracy of the information it published in its reports relative to Plaintiff;

             b. By willfully and/or negligently failing to comply with 15 U.S.C. § 1681i, including,

                but not limited to, the willful and/or negligent failure to conduct any reasonable

                reinvestigation to determine whether the disputed information was accurate,

                complete and verifiable;

             c. By willfully and/or negligently failing to delete information which the CRA’s knew

                or, had any reasonable investigation been conducted, should have known was

                inaccurate, incomplete and/or could not be verified;

             d. By failing to properly respond to Plaintiff’s disputes as required by 15 U.S.C. §

                1681;

             e. By failing to exercise due care and reasonable prudence in the preparation of its

                reports relative to Plaintiff.

       36.      As a proximate result of this conduct, Plaintiff suffered actual damages including,

but not limited to, the loss of credit, loss of the ability to purchase and benefit from credit; mental

and emotional pain, distress, anguish, humiliation, frustration, anxiety and embarrassment.

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       37.        Each of the CRA Defendants’ acts and/or omissions made in violation of the FCRA

were willful, entitling Plaintiff to recover the remedies provided in 15 U.S.C. §1681n.

       38.        Each of the CRA Defendants’ acts and/or omissions made in violation of the FCRA

were negligently made, entitling the Plaintiff to recover the remedies provided pursuant to 15

U.S.C. § 1681o.

       WHEREFORE, Plaintiff requests that this Court enter a judgment against each of the CRA

Defendants for negligent and willful violations of the FCRA and award Plaintiff actual damages,

including damages for mental and emotional pain, distress, anguish, humiliation, frustration,

anxiety and embarrassment; statutory damages; punitive damages; costs and attorney’s fees.

Plaintiff further requests such other relief as the Court deems just and proper, the premises

considered.

                                            COUNT III
                                       (FDCPA VIOLATIONS)

       39.        Plaintiff realleges and incorporates all of the preceding paragraphs as if fully set

out herein.

       40.        This count is asserted against Navient for violations of the FDCPA.

       41.        Defendant Navient is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       42.        Navient has violated the FDCPA in connection with its attempts to collect the

account against Plaintiff. Defendant’s violations include, but are not limited to the following:

              a. Failing to make the disclosures required by 15 U.S.C. § 1692g;

              b. Providing false information regarding the status of Plaintiff’s account. This is

                  violation of 15 U.S.C. § 1692c.

       43.        As a result of its violations of the FDCPA, Navient are liable to Plaintiff for actual

damages, statutory damages, costs and attorney’s fees.
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       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants for the following:

              a. Actual and statutory damages pursuant to 15 U.S.C. 1692k;

              b. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k; and

              c. Such other and further relief as this Court deems just and proper, the premises

                 considered.

                                         COUNT IV
                               (FCRA VIOLATIONS BY NAVIENT)

       44.       Plaintiff realleges and incorporates each of the preceding paragraphs as if fully set

out herein.

       45.       This is a claim for violations of the federal Fair Credit Reporting Act (“FCRA”),

15 U.S.C. § 1681 et seq.

       46.       Defendant Navient furnishes credit information to consumer credit reporting

agencies as those terms are defined by FCRA. Navient is subject to requirements of FCRA,

including those duties set out in 15 U.S.C. § 1681s-2(b).

       47.       At all relevant times, Navient provided derogatory and false credit information to

consumer reporting agencies (“CRAs”), including the CRA Defendants. This false and derogatory

information furnished by Navient was reported by the CRAs, including the CRA Defendants, to

third parties, including Plaintiff’s potential lenders and others who may be in a position of

evaluating Plaintiff’s creditworthiness, credit standing, credit capacity, character and general

reputation.

       48.       As stated above, Plaintiff notified the CRA Defendants her dispute of the false

information being reported by Navient. Upon information and belief, Plaintiff’s dispute and all

relevant information was forwarded to Navient by each of the CRA Defendants. Nevertheless, the

information provided by Plaintiff to the CRA Defendants was also provided to Navient previously
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by Plaintiff.


        49.        Information was available to Navient that should have, upon any reasonable

investigation, informed Navient that the information it was furnishing to CRAs regarding the

account was false and/or unverifiable.

        50.        Despite its knowledge that the information being reported on Plaintiff’s credit file

was false and/or unverifiable, Navient verified the false and derogatory information as accurate

and failed to make any corrections, knowing that by continuing to report the false information,

Plaintiff’s creditworthiness would be damaged.

        51.        Navient has violated the FCRA, specifically 15 U.S.C. § 1681s-2(b), in at least

the following ways:

              a.      By failing to fully, properly or reasonably investigate Plaintiff’s dispute of the

                      reporting of the false and derogatory information;

              b.      By failing to review all relevant information regarding Plaintiff’s dispute and/or

                      by disregarding that information after review;

              c.      By, after receiving notice of Plaintiff’s dispute, continuing to submit false and

                      derogatory information to the CRAs regarding the alleged debt. Navient knew

                      that information to be false, incomplete and/or not verifiable;

              d.      By failing to modify, delete or permanently block the reporting of credit

                      information regarding Plaintiff which Navient knew to be false, incomplete

                      and/or not verifiable;

              e.      By failing to accurately respond to Plaintiff’s disputes made through the CRA

                      Defendants after receipt of that dispute.

        52.        As a proximate result of this conduct, Plaintiff suffered actual damages including,

but not limited to, the loss of credit, loss of the ability to purchase and benefit from credit; mental
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and emotional pain, distress, anguish, humiliation, frustration, anxiety and embarrassment.

       53.     Navient’s acts and/or omissions made in violation of the FCRA were willful,

entitling Plaintiff to recover the remedies provided in 15 U.S.C. § 1681n.

       54.     Navient’s acts and/or omissions made in violation of the FCRA were negligently

made, entitling Plaintiff to recover the remedies provided pursuant to 15 U.S.C. Navient’s acts

and/or omissions made in violation of the FCRA were negligently made, entitling Plaintiff to

recover the remedies provided pursuant to 15 U.S.C. § 1681o.

       WHEREFORE, Plaintiff requests that this Court enter a judgment against Defendant

Navient for negligent and willful violations of the FCRA and award Plaintiff actual damages,

including damages for mental and emotional pain, distress, anguish, humiliation, frustration,

anxiety and embarrassment; statutory damages; punitive damages; costs and attorney’s fees.

Plaintiff further requests such other relief as the Court deems just and proper, the premises

considered.

TRIAL BY JURY IS HEREBY REQUESTED AS TO ALL CLAIMS AND DEFENSES
ASSERTED HEREIN.



                                                     JAMES D. PATTERSON (PATTJ6485)
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                                CERTIFICATE OF SERVI CE

        I hereby certify that on December 7, 2017, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of the filing to
the following:

Jonathan M. Marmo, Esq.                       Alexa L. Sendukas
Reed Smith LLP                                Jones Day
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                                                    JAMES D. PATTERSON (PATTJ6485)




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